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UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA

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} VIOLATIONS:
) 1@ U.S.C. §371
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)

Vv.

JOSEPH O'CONNOR,

(Conspiracy)

Defendant.

INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE
(Conspiracy - 18 U.S.C. §371)}
INTRODUCTION
1. At all times material to the allegations contained in
this Indictment, Defendant Joseph O'Connor (“O'CONNOR”) worked at
Cummins Towers, a housing development located in Roslindale,
Massachusetts with approximately 180 subsidizea rent units,
administered by an on-site management company on behalf of United
States Housing and Urban Development (“HUD”).
THE CONSPIRACY
2, Beginning on a date prior to 1988 and continuing to
in or about mid 2000, the exact dates being unknown to the Grand
Jury, in the District of Massachusetts and elsewhere, Defendant
QO” CONNOR and others, known and unknown to the Grand Jury, did
knowingly and willfully combine, conspire, confederate, and agree
to commit offenses against the United States, namely, to make

materially false statements and to make and use false documents
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knowing the same to contain materially false and fraudulent
statements, in violation of 18 U.S.c. §1001.
MANNER AND MEANS OF THE CONSPIRACY

3. It was part of the conspiracy that Defendant O'CONNOR
caused materially false statements to be made on HUD forms 50059
for certain units at Cummins Towers, including but not limited to
the use of fictitious names, dates of birth, and social security
numbers, all for the purpose of actually obtaining the units for
his own use when he would not otherwise qualify.

4, It was further part of the conspiracy that defendant
O'CONNOR generated employee income verifications in Support of
subsidized housing applications and recertifications at Cummins
Towers, when in fact defendant O'CONNOR knew that the subject
unit was not being occupied by the income verified employee but
rather was being used by defendant O'CONNOR and/or one of his
friends for their own purposes.

5. By means cf the conspiracy, Defendant 0’ CONNOR
wrongly converted to his own use, and the use of another, subsidy
monies paid by the federal government for units at Cummins Towers
totaling more than $140,000.00 and also deprived otherwise
qualifying families of use of the subject units.

OVERT ACTS
6. In furtherance of the conspiracy, and to effect its

object, Defendant O'CONNOR and his co-conspirators, known and
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unknown to the Grand Jury, in the District of Massachusetts and
elsewhere, committed overt acts including but not limited to the
following:

a. On or about November 22, 1988, Defendant O'CONNOR
created a verification of employment and Salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O’CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant ©O’ CONNOR
and/or one of his friends for their own purposes,

kb, On or about November 20, 1989, Defendant O’ CONNOR
created a verification of employment and salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O’CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant O’ CONNOR
and/or one of his friends for their own purposes.

Cc. On or about December 10, 1990, Defendant 0’ CONNOR
created a verification of employment and salary for CE, and
submitted that documenz to the management company at Cummins
Towers, for the purpose of Supporting CE’s application or

recertification for a subsidized rental unit at Cummins Towers,
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when in fact Defendant O’CONNOR knew that CF did not reside in
the unit but rather that the unit was used by Defendant 0’ CONNOR
and/or one of his friends for their own purposes.

dad. On or about November 29, 1991, Defendant ©’ CONNOR
created a verification of employment and Salary for CE, and
Submitted that document to the management company at Cummins
Towers, for the purpose of Supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O'CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant O’ CONNOR
and/or one of his friends for their own purposes.

a. On or about December 4, 1992, Defendant O’ CONNOR
created a verification of employment and Salary for CE, and
submitted that document to the Management company at Cummins
Towers, for the purpose of Supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O’CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant O'CONNOR
and/or one of his friends for their own purposes.

f. On or about November 9, 1993, Defendant O'CONNOR
created a verification of employment and salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of Supporting CE’s application or

recertification for a subsidized rental unit at Cummins Towers,
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when in fact Defendant O'CONNOR knew that CE aid not reside in
the unit but rather that the unit was used by Defendant ©’ CONNOR
and/or one of his friends for their own purposes.

g. On or about November 9, 1994, Defendant O'CONNOR
created @ verification of employment and salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O’CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant O’ CONNOR
and/or one of his friends for their own purposes.

h. On or about October 31, 1995, Defendant O* CONNOR
created a verification of employment and salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O'CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant 0’ CONNOR
and/or one of his friends for their own purposes,

i. On or about January 2, 1998, Defendant O’ CONNOR
created a verification of employment and Salary for CE, and
submitted that document to the management company at Cummins
Towers, for the purpose of supporting CE’s application or

recertification for @ subsidized rental unit at Cummins Towers,
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when in fact Defendant O'CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant O’ CONNOR
and/or one of his friends for their own purposes.

3. On or about December 27, 1999, Defendant O’ CONNOR
created a verification of employment and Salary for CE, and
submitted that document to the Management company at Cummins
Towers, for the purpose of supporting CE’s application or
recertification for a subsidized rental unit at Cummins Towers,
when in fact Defendant O’CONNOR knew that CE did not reside in
the unit but rather that the unit was used by Defendant ©’ CONNOR
and/or one of his friends for their own purposes.

k. On or about October 31, 1991, Defendant 0’ CONNOR
caused a false HUD form 50059 to be completed and submitted for a
unit at Cummins Towers, purportedly for resident “Thomas
Buckley,” when in fact Defendant O’CONNOR knew that “Thomas
Buckley” did not exist or reside in the unit but rather that the
unit was used by Defendant O'CONNOR for his own purposes.

i. On or about February 1, 1993, Defendant O'CONNOR
caused a false HUD form 50059 to be completed and submitted for a
unit at Cummins Towers, purportedly for resident “Thomas
Buckley,” when in fact Defendant O'CONNOR knew that “Thomas
Buckley” did not exist or reside in the unit but rather that the
unit was used by Defendant O'CONNOR for his own purposes.

Tt. On or about October 21, 1993, Defendant O’ CONNOR
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caused a false HUD form 50059 to be completed and submitted for a4
unit at Cummins Towers, purportedly for resident “Thomas
Buckley,” when in fact Defendant O’CONNOR knew that “Thomas
Buckley” did not exist or reside in the unit but rather that the
unit was used by Defendant O’CONNOR for his own purposes.

n. On or about September 29, 1994, Defendant O’ CONNOR
caused a false HUD form 50059 to be completed and submitted for a
unit at Cummins Towers, purportedly for resident “Thomas
Buckley,” when in fact Defendant O’CONNOR knew that “Thomas
Buckley” did not exist or reside in the unit but rather that the
unit was used by Defendant ©O’CONNCR for his own purposes.

GO. On or about September 29, 1995, Defendant O'CONNOR
caused a false HUD form 50059 to be completed and submitted for a
unit at Cummins Towers, purportediy for resident “Thomas
Buckley,” when in fact Defendant O'CONNOR knew that “Thomas
Buckley” did not exist or reside in the unit but rather that the
unit was used by Defendant O'CONNOR for his own purposes.

p. | On or about March 31, 1998, Defendant O'CONNOR caused
a false HUD form 50059 to be completed and submitted for a unit
at Cummins Towers, purportedly for resident “John Smith,” when in
fact Defendant O'CONNOR knew that “John Smith” did not exist or
reside in the unit but rather that the unit was used by Defendant
O'CONNOR for his own purposes.

q. During the period 1988 through 2000, Defendant
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O* CONNOR used three different units at Cummins Towers for his own
purposes, never utilizing his own name or personal information
for the purpose of securing any of these units, and accepted a
rent subsidy for the wrongful use of the units.

All in violation of Title 18, United States Code, Section
371.

Notice of Additional Factors

The Grand Jury further charges that:

7. The offense charged in Count One of this Indictment
(conspiracy in violation of 18 U.S.c, $371):

(a) continued until at least April, 2000;

(b) involved a lass exceeding $120,000.00, as described in

U.S.S.G. §2B1l.1(b5) (1) (F).

A TRUE BILL

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A Foreperson of the Gr

and Jury

Yew A: AAA,

Lori Jw Holik

Assistant U.S. Attorney
DISTRICT OF MASSACHUSETTS

Returned to the District Court by a Foreperson of the Grand Jury
and filed on this day of September, 2004 at

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Criminal Case Cover Sh CR i { ) 9 9 B_D PsPistrice Court - District of Massachusetts

 

Place of Offense: Category No. _Il Investigating Agency _HUD-OIG
City _Roslindale Related Case Information:

County Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant
Magistrate Judge Case Number

Search Warrant Case Number
R 20/R 40 from District of

 

 

 

Defendant Information:
Defendant Name _Joseph O’Connor Juvenile [_] Yes No

Alias Name

 

Address _504 Old Chatham Road, South Dennis, MA 0260

Birth date (Year only): _1936_ SSN (last 4 #): 9773 Sex _M Race: White Nationality: USA

Defense Counsel if known: Address:

 

 

Bar Number:

 

U.S. Attorney Information:

AUSA Lori J. Holik Bar Number if applicable

 

Interpreter: [ } Yes [x] No List language and/or dialect:

 

Matter to be SEALED: []yes [x]No

[_] Warrant Requested [x] Regular Process Lin Custody

Location Status:

Arrest Date:

 

 

 

 

 

[J Already in Federal Custody as in

[ Already in State Custody [] Serving Sentence [] Awaiting Trial
["] On Pretrial Release: Ordered by on

Charging Document: C] Complaint C] Information [x] Indictment
Total # of Counts: [ | Petty _ [ ] Misdemeanor [x| Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

 

[x] 1 hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.
\ A
Date: 7-22-04 Signature of AUSA: Ten \ Abad.
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NJ
Case 1:04-cr-10296-DPW Document 1 Filed 09/24/04
18 45 (5/97) - (Revised USAO MA 3/25/02) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

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Name of Defendant Joseph O’Connor

U.S.C, Citations
Index Key/Code Description of Offense Charged
Set1l 18 U.S.C, §371 Conspiracy

Set 2

Count Numbers

 

Set 3

 

Set 4

 

Set 5

 

Set 6

 

Set 7

 

Set 8

 

Set 9

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:
